                      Case
                      Case 2:23-cv-00024-AM
                           2:23-cv-00024-AM Document
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas


                     STATE OF TEXAS                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:23-CV-0024-AM
                                                                      )
ALEJANDRO MAYORKAS, in his official capacity as                       )
Secretary of Department of Homeland Security, et al.                  )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U.S. Department of Justice
                                           c/o Ms. Stephanie Rico, Civil Process Clerk
                                           Office of US Atty WDTX
                                           601 N.W. Loop 410, Suite 600
                                           San Antonio, TX 78216-5597



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: AMY S. HILTON, Assistant Attorney General
                                           Texas Bar No. 24097834
                                           Office of the Attorney General of Texas, P.O. Box 12548, Capitol Station, Austin,
                                           Texas 78711-2548
                                           Amy.Hilton@oag.texas.gov


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT 3+,/,3-'(9/,1


Date:       05/23/2023
                                                                                           Signature of Clerk or Deputy Clerk
                       Case
                       Case 2:23-cv-00024-AM
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-CV-0024-AM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)     U.S. Department of Justice
 was received by me on (date)             5/23/2023                    .

         XXu I personally served the summons on the individual at (place)             U.S. Department of Justice, c/o Ms. Rico,
Office of U.S. Attorney-WDTX, 601 NW Loop 410, Ste. 600                           on (date) 5/24/2023           ; or
San Antonio, TX 78216-5597
           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                   for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:     6/15/2023                                                               /s/ Leif A. Olson
                                                                                              Server’s signature

                                                                           Leif A. Olson, Assistant Attorney General
                                                                                          Printed name and title
                                                                      P.O. Box 12548
                                                                      Capitol Station
                                                                      Austin, TX
                                                                      78711-2548
                                                                                              Server’s address

 Additional information regarding attempted service, etc:


   On May 24, 2023, I served this summons and Plaintiff’s Original Complaint, via certified mail, return receipt requested
   #7020 1290 0000 7442 0439, delivered 5/26/2023.
                             Case 2:23-cv-00024-AM Document 4-8 Filed 06/15/23 Page 3 of 4




  SENDER: COMPLETE THIS SECT •N
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             U.S. Department ofjustice                   IfYES,enterdelivelyaddressbeiow:    ~ No
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             Office of US Atty WDTX
           601 N.W. Loop 410, Suite 600
            San Antonio, TX 78216-5597

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